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As of: Dec 14, 2006

                   UNITED STATES OF AMERICA, Plaintiff, vs. BOOKER LEE ZACHERY
                                     JOHNSON III, Defendant.

                                             Case No. 05-40107-01-RDR

                   UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS

                                              2006 U.S. Dist. LEXIS 62841

                                            September 1, 2006, Decided
                                             September 1, 2006, Filed

COUNSEL: [*1] For Booker Lee Zachery Johnson, III
                                                                 The defendant seeks an order of the court preventing
(1), Defendant: Dwight L. Miller, CJA Appointment,
                                                            the government from [*2] introducing any evidence
Topeka, KS.
                                                            concerning an organization chart that shows the defen-
                                                            dant as the leader of a group of drug dealers. The defen-
For USA, Plaintiff: James A. Brown, Office of United
                                                            dant suggests that the chart is either not relevant or that
States Attorney -- Topeka, Topeka, KS.
                                                            its probative value is outweighed by its prejudicial im-
                                                            pact. The government has suggested that this is a matter
JUDGES: Richard D. Rogers, United States District
                                                            that is better left for decision at trial.
Judge.
                                                                 The court agrees with the government. The govern-
OPINION BY: Richard D. Rogers                               ment shall not be allowed to use the chart until the court
                                                            determines if there is some foundation for it. A chart that
OPINION:                                                    summarizes the testimony offered at trial may be admit-
                                                            ted by the court. United States v. Stiger, 413 F.3d 1185,
    MEMORANDUM AND ORDER
                                                            1198 (10th Cir. 2005). However, if the chart contains
     The defendant is charged with distribution and pos-    information from non-trial sources, it cannot be admitted.
session with intent to distribute approximately 50 grams    Id.
or more of crack cocaine and 5 kilograms or more of
powder cocaine in violation of 21 U.S.C. § 841(a)(1).       MOTION FOR BILL OF PARTICULARS
The defendant has filed the following motions: (1) mo-
                                                                 The defendant seeks a bill of particulars concerning
tion in limine regarding organizational chart; (2) motion
                                                            the charge contained in the indictment. He requests: (1)
for bill of particulars; (3) motion for further discovery
                                                            the specific time and location where the alleged offenses
and disclosure; and (4) motion for in camera inspection
                                                            commenced; (2) the manner in which the alleged of-
and disclosure of Brady material and criminal history
                                                            fenses were perpetrated; and (3) the particulars of each of
contained in cooperating witnesses' probation files. The
                                                            the defendant's alleged offenses. The defendant points
court has conducted a hearing on these motions and
                                                            out in support of his motion that the superseding indict-
made several rulings. The purpose of this memorandum
                                                            ment [*3] provides that the alleged offense occurred
and order is to memorialize the rulings made by the court
                                                            "from an unknown date beginning sometime after Janu-
during the hearing.
                                                            ary 1, 1996, and continuing to on or about the 15th day
                                                            of March, 2005, the exact dates unknown to the Grand
MOTION    IN    LIMINE                   REGARDING
                                                            Jury." The defendant further notes that the superseding
ORGANIZATIONAL CHART
                                                            indictment alleges possession and distribution of two
                                                            separate types of narcotics: cocaine base or crack cocaine
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and cocaine hydrochloride or powder cocaine. The de-            Owens, (c) Darrlyn Johnson, (d) David Wakes, (e) An-
fendant suggests that the broad dates of the conspiracy         nette Brown, (f) Aneurin Netherland, (g) Terrance Wil-
coupled with the lack of specificity in the charge man-         kins, (h) Eugene Green, (i) Bryan Brown, (j) Courtney
dates a bill of particulars here. The defendant contends        Cannon, (k) Steve Bell, (1) Kenny Riley, (m) Tyrone
that this indictment raises double jeopardy as well as          Wakes and (n) Lawrence Washington.
statute of limitations issues.
                                                                     The government has agreed to provide all of this in-
     The government objects to the defendant's request          formation. Given the government's response, this motion
for a bill of particulars. The government argues that a bill    shall be granted. The government shall produce this in-
of particulars is not required because the indictment           formation at least twenty days prior to trial.
tracks the statute and adequately expresses all elements
of the offense. Moreover, the government points out that        MOTION FOR IN CAMERA INSPECTION AND
the defendant has been given all of the statements of the       DISCLOSURE OF BRADY MATERIAL AND
government's witnesses.                                         CRIMINAL [*6]  HISTORY CONTAINED IN
                                                                COOPERATING   WITNESSES'  PROBATION
     "The purpose of a bill of particulars is to inform the
                                                                FILES
defendant of the charge against him with sufficient preci-
sion to allow him to prepare his defense." United States             The defendant seeks to have the court conduct an in
v. Levine, 983 F.2d 165, 166-67 (10th Cir. 1992) [*4]           camera inspection of the cooperating witnesses' proba-
(citations and internal quotation marks omitted). "A bill       tion files and release all Brady material contained in the
of particulars is not necessary if the indictment sets forth    files to defense counsel.
the elements of the offense charged and sufficiently ap-
                                                                    The government has agreed to provide the informa-
prises the defendant of the charges to enable him to pre-
                                                                tion requested by the defendant. The government will
pare for trial." Id. at 167 (citations and internal quotation
                                                                provide the presentence reports of the cooperating wit-
marks omitted). "[T]he defendant is not entitled to notice
                                                                nesses directly to the defendant's counsel. The court shall
of all of the evidence the government intends to produce,
                                                                agree to this procedure. The court shall allow the presen-
but only the theory of the government's case." Id. (cita-
                                                                tence reports to be unsealed for this purpose. However,
tions and internal quotation marks omitted) (emphasis in
                                                                the defendant's counsel shall not make copies of these
the original).
                                                                reports and shall not provide the defendant with access to
     The threshold for obtaining a bill of particulars in       them. If, after obtaining these reports, the defendant
the Tenth Circuit is high. Nevertheless, this case appears      seeks additional materials, he can file another motion
to be one where a bill of particulars is warranted. The         detailing his requests.
extended dates of the alleged offense -- over nine years --
                                                                    IT IS THEREFORE ORDERED that defendant's
coupled with the lack of specificity in the indictment
                                                                motion in limine regarding organizational chart (Doc. #
justifies the granting of a bill of particulars. For these
                                                                62) be held in abeyance pending trial.
reasons, the court believes that a bill of particulars is
necessary, even though the government has produced                   IT IS FURTHER ORDERED that defendant's mo-
substantial discovery in this matter. The government            tion for bill of particulars (Doc. # 63) be hereby granted.
shall be required to provide the specific time and location     The government shall be required to provide the specific
where the alleged offense commenced and the manner in           time and location where the alleged offense commenced
which the alleged offense [*5] was perpetrated. The             [*7] and the manner in which the alleged offense was
government should provide the bill of particulars within        perpetrated. The government should provide the bill of
twenty-five days.                                               particulars within twenty-five days.
                                                                     IT IS FURTHER ORDERED that defendant's mo-
MOTION FOR FURTHER DISCOVERY AND
                                                                tion for further discovery and disclosure (Doc. # 64) be
DISCLOSURE
                                                                hereby granted. The government shall provide the re-
     The defendant seeks information concerning the             quested materials at least 20 days prior to trial.
prior crimes that the cooperating witnesses were arrested
for and which led to their cooperation with the govern-              IT IS FURTHER ORDERED that defendant's mo-
                                                                tion for in camera inspection and disclosure of Brady
ment and their testimony in this case. The defendant
notes that no Brady or Giglio evidence has been pro-            material and criminal history contained in cooperating
duced by the government at this time. The defendant             witnesses' probation files (Doc. # 66) be hereby granted
                                                                in part and denied in part. The government shall provide
seeks all DEA 6 reports, arrest reports, officer narratives
and any related statements relating to the prior crimes of      the presentence reports of the cooperating witnesses di-
the following witnesses: (a) Richard Smith, (b) Randy           rectly to the defendant's counsel. The court shall allow
                                                                the presentence reports to be unsealed for this purpose.
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However, the defendant's counsel shall not make copies         Dated this 1st day of September, 2006 at Topeka,
of these reports and shall not provide the defendant with   Kansas.
access to them.
                                                                s/ Richard D. Rogers
    IT IS SO ORDERED.
                                                                United States District Judge
